Case 1:04-cr-10003-|\/|EL Filed 10/19/2004 Page 1 of 3

 

Department of the Treasury

Federa[ Law Enforc'emen! Agenct`es

PR.OCESS RECEIPT AN]) RETURN

 

 

 

 

 

 

 

PLAiNT|FF COURT CASE NUMBER

UN|TED STATES OF AN|ER|CA CR NO_ 04_‘| 0003_[\/]51_

DEFENDANT TYPE OF PROCESS

|VlETALOR USA REF|N|NG CORPORAT|ON Pre|iminary Order of Forfeiture
Name Of [ndividuaf,Companv.Corporation,Etc. to Serve or Description of Pr<)perty to Seize

SERVE Nie|issa Bayer Tearney, Esquire
AT Address fewer or HFD /Apr. # / ciry, Srare, and z:ip code

Nixon Peabody, L.LP, 101 Federa| Street, Boston, MA 02‘|10-1832

Send NOT|CE OF SERVICE copy to F-!eauester: Number Of Pmcess Tu Be

Served In This Case.

 

SHELBEY D. WRIGHT, ASSISTANT U.S. ATTOFINEY

 

UN|TED STATES ATTORNEY’S OFF|CE Nurnber Of Parties To Be

John Joseph Moak|ey United Sta[es Courthouse Served |n `Fhis Case.

1 Courthouse Wav, Suite 9200

Eoston. Massachusetts 02210 Check Box |1 Service ls On USA

 

 

 

SPEC|AL INSTRUCT|ONS or OTHER |NFORMAT|ON TO ASS|ST |N EXPED|T|NG SERV|CE [includes Business end A|Ternoie Addresses. Phone
Numbers. ond Esiimoied Avcii|c:ibi|ity iinnes.)

Please serve the attached Preliminar‘y Order of Forfciture upon the above*nanied individual by certified mail,
return receipt requested

 

 
 
 

LJT x3283
, [ X IP|aintiff Te|ephone No. Dat€
[ ]Defendant 161 7} 748-3100 Feb. 6, 2004

 

 

   

S|GNATUF|E OF P ON ACCEPTLNG PFiOCES . Date

 

 

SPACE BELOW FOR USE OF TREASURY LAW ENFORCEMENT AGENCY

 

| acknowledge receipt for the District of Distriet to Serve S|GNATURE OF AUTHOR!ZED TREASURY Date
Totai § of Prncess indicated Origin AGENCY OFF|CER:
Nc>. No.

 

 

 

 

 

l hereby Certify and Heturn That | [ l PERSONALLY SERVED, [ | HAVE LEGAL EV|DENCE OF SEF|V|CE, [ HAVE
EXECUTED AS SHOWN |N “RENIAHKS", the Process Descn`bed on the |ndividua|, Company, Cr:»rporationr ., At
The Address Shown Above or at the Address |nserted Be|ow.

 

l ] | HEREBY CERT|FY AND RETURN THAT | AM UNABLE TO LOCATE THE IND|V|DUALr COMPANY, CORPOF\AT|ON,
ETC. NAMED ABOVE.

 

 

NAME & TITLE of individual Served |f not shown [ l A Person of suitable age and discretion then residing
above: in the defendant's usual place of abcde.
ADDRESS: (Complete only if different than Date of Service Tim€ 0f SErViCE l i A|V|

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REMARK& U.S. Customs and

The above referenced Order (copy) was eerved Border Protection
by certified mail return receipt requested.

Certified mail number 70012510000343005254

Copy ofu§igned Poetal receipt form attached. Though Postal Receipt form 3811

was returned uneigned, Poetal form 3800 is stamped by the Poet Office to indi:ate
mailing Of the envelope- Also, Poetal Service website confirm etatem nt

TDF90-22_48¢6/95) attached} indicates that envelope delivered on Feb. lB, 2004

   

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